Case 1:15-cv-04614-AMD-SJB Document 61 Filed 12/12/17 Page 1 of 2 PageID #: 452



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 Eric C. Sorenson
                                                                      ORDER

        -against-                                                    15-cv-4614-AMD-SJB

 Sandra Simpson
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 BULSARA, United States Magistrate Judge:

        On November 27, 2017, Defendant filed a motion to compel, seeking
 responses to her document requests (Nos. 2, 3, 4, and 10). According to
 Defendant, Plaintiff has refused to produce any responsive documents. Plaintiff’s
 response to the motion to the compel argues, in a conclusory fashion, that the
 requests are not proportional to the case. No explanation is given as to why the
 documents are not relevant or discoverable other than there is no “cogent theory of
 the case” that supports Defendant’s request for documents.
        Plaintiff’s objections to the document requests are without merit. The
 documents sought are relevant and plainly discoverable. For example, Request
 No. 2 seeks correspondence between the parties relating to the cost of the
 litigation, expenses and tasks of the underlying lawsuits that are the basis of
 Plaintiff’s claims against Defendant. Defendant is entitled to those documents
 given that this is both a dispute about attorney’s fees and there is a sharp dispute
 about the course of events and the nature of the financial arrangements between the
 parties. Request No. 3 also seeks correspondence related to those agreements and
 the parties’ relationship; Defendant is certainly entitled to such documents.
 Request No. 4 seeks copies and notes related to the retainer agreement between the
 parties; given that this is a dispute about attorney’s fees and Plaintiff alleges that
 Defendant breached a 2009 retainer agreement, Defendant is also entitled to these
Case 1:15-cv-04614-AMD-SJB Document 61 Filed 12/12/17 Page 2 of 2 PageID #: 453



 documents. See Am. Compl. ¶ 4 (“In this action, Sorenson is seeking a
 “reasonable fee,” (the pertinent term in the governing retainer agreement between
 Sorenson and Simpson), from Simpson for his legal services and expenses
 rendered in the D.C. Federal Courts from 1999-2008.”); ¶ 6 (“Simpson met,
 negotiated, and executed two retainer agreements with Sorenson in New York
 City.”). Request No. 10 seeks documents concerning the fees paid by Plaintiff.
 Assuming that this is a reference to the fees and costs that Plaintiff alleges he
 incurred in the representation of Defendant and that is the basis of his claim for
 unjust enrichment (Id. at ¶ 45), Defendant is also entitled to such documents.
       As to Plaintiff’s argument that this request for documents comes long “after
 discovery has closed,” Plaintiff misapprehends the state of the case. An answer to
 the amended complaint was filed on June 26, 2017, the motions to dismiss were
 finally resolved in September 2017, and no date for the close of discovery was set.
 Plaintiff should have produced documents in response to these requests back in
 September, and does not dispute Defendant’s statement that no documents have
 been produced to date. Defendant’s motion to compel production of documents in
 response to requests Nos. 2, 3, 4, and 10 is granted. Plaintiff shall produce all
 responsive documents to Defendant by January 31, 2018. In light of this order on
 the motion to compel, the date for Defendant to begin summary judgment practice
 before the District Judge is extended until February 15, 2018.


 SO ORDERED.



                                                 S/
                                                      SANKET J. BULSARA
                                                      United States Magistrate Judge
 December 12, 2017
 Brooklyn, New York
